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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SAM SARWAR,

                                   Plaintiff,                          ORDER

                 - against -                                        20 Civ. 10522 (ER)

65 BNB HOLDINGS LLC,

                                    Defendant.
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Ramos, D.J.:

                 The Court having been advised that all claims asserted herein have been settled, it

is ORDERED, that the above-entitled action be and hereby is discontinued, without costs to either

party, subject to reopening should the settlement not be consummated within thirty (30) days of

the date hereof.

                 Any application to reopen must be filed within thirty (30) days of this Order; any

application to reopen filed thereafter may be denied solely on that basis. Further, the parties are

advised that if they wish the Court to retain jurisdiction in this matter for purposes of enforcing any

settlement agreement, they must submit the settlement agreement to the Court within the next

thirty (30) days with a request that the agreement be “so ordered” by the Court.

SO ORDERED.



Dated: New York, New York
       February 3, 2021



                                                         Edgardo Ramos, U.S.D.J.
